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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                                      Criminal Minutes

Date: August 26, 2020                              Judge: Honorable Charles R. Breyer

Court Reporter: Belle Ball
Time: 22 Minutes
Case No.: CR19-0524-1 CRB
Case Name: USA v. Vladimir Magallan Gallegos (Custody) (Present)

Attorney(s) for Government: Christina Liu
Attorney(s) for Defendant(s): Robert Waggener
Interpreter: Daniel Navarro - Spanish
Probation Officer: Monica Romero

Deputy Clerk: Lashanda Scott


                                       PROCEEDINGS

Sentencing hearing held by Zoom. Due to COVID-19 pandemic, all parties consent to having
this matter heard by Zoom. The Court sentenced the defendant to the Bureau of Prisons for a
term of 60 months. Defendant placed on supervised release for a term of four years under the
usual terms and conditions and the special conditions. The defendant shall pay a special
assessment of $100. The Court finds the defendant does not have the ability to pay a fine and
orders it waived. Refer to Judgment for additional information. Defendant in custody at Santa
Rita Jail.
